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 1   William A. Munck (Texas State Bar No. 00786127)
     Jamil N. Alibhai (Texas State Bar No. 00793248)
 2   MUNCK CARTER, LLP
 3   600 Banner Place
     12770 Coit Road
 4   Dallas, Texas 75251
     Telephone: (972) 628-3600
 5
 6
 7
 8                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF CALIFORNIA
 9                                          SAN DIEGO DIVISION
10
     GABRIEL TECHNOLOGIES                                        CIVIL ACTION NO. 3:08-cv-01992-MMA-POR
11   CORPORATION and TRACE
     TECHNOLOGIES, LLC,
12                      Plaintiffs,                              NOTICE OF MOTION AND MOTION TO
                                                                 WITHDRAW AS ATTORNEYS OF RECORD
13
              vs.                                                FOR PLAINTIFFS GABRIEL
14                                                               TECHNOLOGIES CORPORATION AND
     QUALCOMM INCORPORATED,                                      TRACE TECHNOLOGIES, LLC;
15   SNAPTRACK, INC., and NORMAN                                 MEMORANDUM OF POINTS AND
     KRASNER,                                                    AUTHORITIES IN SUPPORT THEREOF
16
                           Defendants.
17                                                               DATE: January 25, 2010
                                                                 TIME: 2:30 p.m.
18                                                               COURTROOM: 5
19                                                               DEMAND FOR JURY TRIAL
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     And Trace Technologies, LLC; Memorandum of Points and Authorities in Support Thereof            Case No. 3:08-cv-01992-MMA-POR
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 1            TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 2            PLEASE TAKE NOTICE that on January 25, 2010, or soon thereafter as the matter may
 3   be heard, in Courtroom 5 of the above entitled Court located at 940 Front Street, San Diego, CA
 4   92101. The law firm of Munck Carter, LLP and Jamil N. Alibhai (collectively, “Munck Carter”)
 5   seek leave of Court to withdraw as counsel of record for Plaintiffs Gabriel Technologies
 6   Corporation (“Gabriel”) and Trace Technologies, LLC (“Trace”).
 7            This motion is based upon this Notice, the Memorandum of Points and Authorities
 8   attached hereto, the pleadings, records and files herein, and such other oral or other documentary
 9   evidence as may be presented at the hearing of this motion.
10   Dated: December 22, 2009                                       Respectfully submitted,
11
12                                                                  By: /s/ Jamil N. Alibhai
                                                                    William A. Munck
13                                                                  Texas State Bar No. 00786127
                                                                    wmunck@munckcarter.com
14                                                                  Jamil N. Alibhai
                                                                    Texas State Bar No. 00793248
15
                                                                    jalibhai@munckcarter.com
16                                                                  E. Leon Carter
                                                                    Texas State Bar No. 03914300
17                                                                  lcarter@munckcarter.com
                                                                    John T. Mockler
18                                                                  Texas State Bar No. 00789495
19                                                                  jmockler@munckcarter.com
                                                                    Bradley C. Mall
20                                                                  Texas State Bar No. 24007593
                                                                    MUNCK CARTER, LLP
21                                                                  600 Banner Place
                                                                    12770 Coit Road
22
                                                                    Dallas, Texas 75251
23                                                                  Telephone: (972) 628-3600
                                                                    Facsimile: (972) 628-3616
24
                                                                    COUNSEL FOR PLAINTIFFS GABRIEL
25
                                                                    TECHNOLOGIES CORPORATION AND
26                                                                  TRACE TECHNOLOGIES, LLC

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 1                               MEMORANDUM OF POINTS & AUTHORITIES
 2            The law firm of Munck Carter, LLP and Jamil N. Alibhai (collectively, “Munck Carter”)
 3
     seek leave of Court to withdraw as counsel of record for Plaintiffs Gabriel Technologies
 4
     Corporation (“Gabriel”) and Trace Technologies, LLC’s (“Trace”) for the reasons set forth
 5
     below.
 6
 7                                                                 I.

 8                                         ARGUMENT AND AUTHORITIES
 9            This Court’s “decision to grant or deny counsel’s motion to withdraw is committed to the
10   discretion of the trial court.” Beard v. Shuttermart of Cal., 2008 WL 410694, *2 (S.D. Cal. Feb.
11   13, 2008). In ruling on a motion to withdraw as counsel, the following factors are considered:
12   “(1) the reasons why withdrawal is sought; (2) the prejudice withdrawal may cause to other
13   litigants; (3) the harm withdrawal might cause to the administration of justice; and (4) the degree
14   to which withdrawal will delay the resolution of the case.” Id. (citations omitted). Here, Munck
15   Carter can demonstrate good cause under several recognized bases for withdrawal and that
16   Munck Carter’s withdrawal will not prejudice any of the parties or harm the administration of
17   justice. Further, because this case is in its infancy and Defendants have yet to even file an

18   answer, Plaintiffs have ample opportunity to substitute counsel without delaying the proceedings

19   in this case.

20   A.       Good Cause for Withdrawal Exists Under Both the Mandatory and Permissive
              Bases of the California Rules
21
              To determine when withdrawal is appropriate, the Southern District of California has
22
     incorporated the California Rules of Professional Conduct (the “California Rules”). Pacific
23
     Rollforming, LLC v. Trakloc Intern., 2008 WL 4682239, *1 (S.D. Cal. Oct. 21, 2008). The
24
     California Rules set forth both mandatory and permissive bases for withdrawal by an attorney.
25
     By way of example, the following permissive bases, among others, under California Rule 3-700
26
     require Munck Carter’s withdrawal as counsel:
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 1                 •     “The client by other conduct renders it unreasonably difficult for the member to
                        carry out the employment effectively.” 3-700(C)(1)(d)
 2
 3                 •     “The client breaches an agreement or obligation to the member as to the expenses
                        or fees.” 3-700(C)(1)(f)
 4
                   •     “The member believes in good faith, in a proceeding pending before a tribunal,
 5                      that the tribunal will find the existence of other good cause for withdrawal.” 3-
 6                      700(C)(6)

 7            It is well established that “[c]ounsel in this Court may withdraw as the attorney of record
 8   if the client’s ‘conduct renders it unreasonably difficult for the member to carry out the

 9   employment effectively.’” Beard v. Shuttermart of Cal., 2008 WL 410694, *2 (S.D. Cal. Feb.

10   13, 2008) (quoting Rule 3-700(C)(1)(d)). In evaluating similar motions to withdraw as counsel,

11   this Court has recognized that “[u]nder the State Bar of California Rules of Professional

12   Conduct, attorneys are bound to preserve client confidences when seeking withdrawal, if

13   disclosing them would prejudice the client or violate the counsel's duty of confidentiality. In light

14   of these limitations, counsel often is not able to discuss in detail the reasons for withdrawal.”
     Pacific Rollforming, LLC v. Trakloc Intern., 2008 WL 4682239, *1 n.1 (S.D. Cal. Oct. 21, 2008)
15
     (citing Cal. R. Prof. Conduct 3-700(A)(2)). Based on the enumerated sections of the California
16
     Rules set forth above, Munck Carter submits that its withdrawal from this case is appropriate. If
17
     the Court so requires, Munck Carter is willing to provide additional information about the
18
     reasons for its withdrawal to the Court in camera.
19
     B.       Compliance With the Notice Provisions
20
              In addition, counsel has complied with Southern District of California Local Rule
21
     83.3(g), which requires that “[a] notice of motion to withdraw as attorney of record must be
22
23   served on the adverse party and on the moving attorney’s client” and “[a] declaration pertaining

24   to such service must be filed.” Id. A copy of Munck Carter’s motion has been served on counsel
25   for defendants and on the CEO and General Counsel of Gabriel, George Tingo. See Alibhai
26
     Declaration ¶ 2. In addition, counsel for defendants is not opposed to the relief requested. See
27
     Alibhai Declaration ¶ 3.
28
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 1   C.       No Prejudice
 2            Generally, “[a]n attorney may not withdraw until he or she ‘has taken reasonable steps to

 3   avoid reasonably foreseeable prejudice to the rights of the client . . . .’” Pacific Rollforming, LLC

 4   v. Trakloc Intern., 2008 WL 4682239, *1 (S.D. Cal. Oct. 21, 2008) (citing Cal. R. Prof. Conduct

 5   3-100(A)(2)). In this case, however, the proceedings are in their infancy. The Court has not

 6   issued a Scheduling Order, the defendants have not filed an answer, and no trial date is set.

 7   Thus, there is no prejudice. See Pacific Rollforming, LLC v. Trakloc Intern., 2008 WL 4682239,

 8   *1 (S.D. Cal. Oct. 21, 2008) (citing Cal. R. Prof. Conduct 3-100(A)(2)) (“At the time of the

 9   filing of the application there were no hearings or due dates apparent from the court's docket
     necessitating Clients' action. Accordingly, the counsel took sufficient steps to avoid reasonably
10
     foreseeable prejudice to Clients.”); Lewis v. Nevada County, 2009 WL 463510, *1 (E.D. Cal.
11
     Feb. 23, 2009) (“Here, plaintiff will not suffer injustice or delay if counsel is permitted to
12
     withdraw. Trial in this matter is set for June 8, 2010. Plaintiff has sufficient time to retain
13
     substitute counsel, should he wish to, and for that lawyer to become familiar with the case and
14
     relevant issues.”).
15
                                                                        II.
16
                                                              CONCLUSION
17
18            For all of the foregoing reasons, Munck Carter respectfully requests that this Court enter

19   an order granting the withdrawal of Munck Carter as attorneys of record for Plaintiffs in this
20   matter and for any and all relief to which Munck Carter is entitled.
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 1   Dated: December 22, 2009                                   Respectfully submitted,
 2
 3                                                              By: /s/ Jamil N. Alibhai
                                                                   William A. Munck
 4                                                                 Texas State Bar No. 00786127
                                                                   wmunck@munckcarter.com
 5                                                                 Jamil N. Alibhai
                                                                   Texas State Bar No. 00793248
 6
                                                                   jalibhai@munckcarter.com
 7                                                                 E. Leon Carter
                                                                   Texas State Bar No. 03914300
 8                                                                 lcarter@munckcarter.com
                                                                   John T. Mockler
 9                                                                 Texas State Bar No. 00789495
10                                                                 jmockler@munckcarter.com
                                                                   Bradley C. Mall
11                                                                 Texas State Bar No. 24007593
                                                                   MUNCK CARTER, LLP
12                                                                 600 Banner Place
                                                                   12770 Coit Road
13
                                                                   Dallas, Texas 75251
14                                                                 Telephone: (972) 628-3600
                                                                   Facsimile: (972) 628-3616
15
                                                                    COUNSEL FOR PLAINTIFFS GABRIEL
16
                                                                    TECHNOLOGIES CORPORATION AND
17                                                                  TRACE TECHNOLOGIES, LLC

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 1                                         CERTIFICATE OF SERVICE
 2
 3            The undersigned hereby certifies that all counsel of record who are deemed to have

 4   consented to electronic service are being served with a copy of this document via the Court’s

 5   CM/ECF system per Fed. R. Civ. P. 5. on December 22, 2009.

 6            A copy of this document was served via U.S. Mail and electronic mail to the below

 7   address on December 22, 2009:

 8
              George Tingo
 9            CEO and General Counsel
              Gabriel Technologies Corporation
10            740 North 129th Street, Suite 105
              Omaha, NE 68154
11
              gtingo@aol.com
12
13
14                                                                  /s/ Jamil N. Alibhai
                                                                    Jamil N. Alibhai
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